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                        EXHIBIT C
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  Chase
  P.O. Box 183222
  Columbus, OH 43218-3222
                                                                                                                       Payoff
                                                                                                                   quote generated
                                                                                                                      12:41:04
  March 31, 2024


  LESLIE KLEIN
  KLEIN,ERIKA
  322 N JUNE ST
  LOS ANGELES, CA 90004 1042


  Here's your payoff quote for your loan

  Account:                                                4900182700
  Property Address:                                       2560 WHITE WATER CLUB DR B
                                                          PALM SPRINGS, CA 92262 0000

  Dear Mortgagor(s):

  We’ve enclosed your free payoff quote and important information about paying off your mortgage. We’re sending you this quote because it was
  requested on your behalf, you requested it, or your payoff amount changed.

  The total amount due to pay off this loan is $164,107.96, which is good through 04/26/2024. If this date falls on a holiday or a non-working day,
  we’ll consider the payment on time if made by 6 p.m. Eastern Time the next business day unless a foreclosure sale is scheduled for an earlier time.
  Please see the table below for details about the payoff amount:

                                                                   Your payoff quote
  Unpaid principal balance                                                                                                               $126,159.87
  Deferred principal balance                                                                                                                   $0.00
  Interest per diem                                                                                                                           $31.54
  Interest due from                                       01/05/21                                                                        $27,135.94
  Pro rata MIP/PMI                                                                                                                             $0.00
  Escrow advance balance                                                                                                                       $0.00
  Restricted escrow balance                                                                                                                    $0.00
  Buydown subsidy/replacement reserve balance                                                                                                  $0.00
  HUD subsidy balance                                                                                                                          $0.00
  CR life / original fee rebate                                                                                                                $0.00
  Prepayment penalty                                                                                                                           $0.00
  Late charges                                                                                                                                 $0.00
  Monthly late charge amount                              $44.16
  Insufficient funds (NSF)                                                                                                                     $0.00
  Other fees1                                                                                                                                  $0.00
  Recording fee                                                                                                                                $0.00
  Demand fee                                                                                                                                   $0.00
  Suspense                                                                                                                                     $0.00
  Corporate advances1                                                                                                                     $10,812.15
  Incurred attorney fees2                                                                                                                      $0.00
  Incurred attorney costs2                                                                                                                     $0.00
  Subtotal                                                04/26/24                                                                       $164,107.96

  Incurred but not yet billed attorney fees                                                                                                     $0.00
  Incurred but not yet billed attorney costs                                                                                                    $0.00
  Total Incurred but not yet billed Amounts                                                                                                     $0.00

  Total Payoff Amount Good through                        04/26/24
                            3
  Total Payoff Amount                                                                                                                     164,107.96
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  1
   Other fees and corporate advances include amounts such as property inspections, foreclosure fees and costs and valuations that may be charged as
  part of the terms of your loan documents and/or permitted by applicable law, or that were authorized for services we completed. If you need
  additional information about any of these amounts, please call us at one of the numbers below.

  2
   Incurred attorney fees and costs include amounts that have been incurred and billed by the attorney or trustee but not yet charged to the account at
  the time the payoff quote was requested.
  3
   This payoff statement shows the total amount you owe. However, you might not have to pay every fee for the lien to be released. For more
  information, please call us at 1-800-848-9380. We accept operator relay calls.

  The amounts above are subject to final verification when we receive your payoff. If your loan is not up to date, all default-related activity may
  continue, and we may continue to charge fees and costs until the loan is paid off. If foreclosure activity has begun on your loan, we may continue
  this activity and there may be additional foreclosure charges.
  Please send your payoff amount using one of these options below:
          • By wire transfer to:
                       Account name: JPMorgan Chase Bank, N.A.
                       Attn:           Payoff Processing
                       Account number: 323553729
                       Routing number: 021000021

               Be sure to include the following information in the wire description:
                       • Your Chase account number
                       • The names of all customers listed on the loan
                       • The property address
                       • The representative's contact information

               You may be charged a fee by the wire transfer provider for this service.

          • By mail to:
                       Chase
                       Attn: Payoff Processing
                       Mail Code LA4-6455*
                       700 Kansas Lane
                       Monroe, LA 71203


               *For Cooperative Unit or New York Consolidation Extension and Modification Agreements, use Mail Code: OH4-2222.




  If you have questions, please call us at one of the numbers below. We appreciate your business.

  Sincerely,

  Chase
  1-877-838-1882
  chase.com


  Esta comunicación contiene información importante acerca de la cuenta. Si tiene alguna pregunta o necesita ayuda para traducirla, comuníquese
  con nosotros llamando al 1-877-838-1882.

  Enclosure

                                                        Important Information about Your Payoff

  1. If you have a closing date scheduled and the date changes, you should contact us to request a new payoff quote as soon as possible.
  2. Please send a copy of this letter with your payment. You can use the address or wire transfer instructions above for payment information, or call
  us at 1-800-548-7912 if you have questions.
  3. When we receive your payoff, we’ll verify that it matches the payoff quote. If the loan is in default, the fees and costs incurred after the quote
  was issued may continue to be assessed until the loan is paid off.
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  4. The payoff amount is subject to our final verification once we receive the payoff funds. Regardless of the “good through” date on this payoff
  quote, if the loan is in default, we may continue all default-related processes, including but not limited to foreclosure sale, and we may continue to
  assess all fees and costs incurred after this payoff quote is issued until the loan is paid in full. If you can’t pay the amount listed in this letter, please
  call us at 1-800-848-9380 to discuss the assistance options that may be available. If you’re paying off your loan as a result of a natural disaster,
  please call us at 1-800-848-9136 to see if we can offer you assistance.

  5. We reserve the right , except where prohibited, to adjust the payoff amount and refuse any insufficient funds for any reason, including, but not
  limited to, error in calculation of the Total Payoff Amount, previously dishonored checks or money orders, stop payment of checks or pending
  automatic mortgage payments or additional payments we made between the date of this payoff quote and the date we received the funds.


  6. If you had a prior loan modification that included a Principal Reduction Alternative (PRA), you may be eligible to have your PRA
  forbearance canceled
  We’ll reduce the unpaid principal balance of your loan by one-third of the initial PRA forbearance amount (a predetermined amount) if your loan is
  in good standing on the first, second and third anniversary dates of your trial period. This means if you continue to make your payments on time for
  three years, we’ll cancel the entire PRA forbearance amount.

  We’ll deduct the unapplied PRA forbearance amount from your payoff balance if the loan is in good standing and you pay off the loan in full:
         • Anytime 30 days after the modification effective date,
         • After the PRA reporting and payment processes are available, and
         • Before the payment of the entire PRA forbearance amount.

  Your payoff balance may increase if your payments are late
  Your loan can lose good standing if it becomes three full monthly payments past due. The loan can’t be restored to good standing even if you pay
  the past-due payments and bring it up to date. If your loan loses good standing after your payoff request but before we receive the payoff, your
  actual payoff amount will be higher and you’ll need to request a new quote.



  7. If your account has been referred to foreclosure: The payoff figures listed above may include items we paid or that were incurred by the
  foreclosure law firm that are or will be due by the good-through date. If applicable, we’ve included incurred but not yet billed fees and costs that we
  expect to charge between now and the good-through date. These incurred but not yet billed fees and costs show what the amount will be if you pay
  off your loan by the good-through date. We only require you to pay the fees and costs actually incurred by the date we receive your payoff, as
  permitted by your loan documents or applicable law. If your payoff figure listed above includes any incurred but not yet billed fee or cost or other
  item and the amount we receive is more than enough to pay off your loan, we’ll return any excess to you. However, if we receive less than the
  actual amount due, we reserve the right to return the payment and continue with the legal process. Please call us at 1-800-848-9380 within 24
  hours of making a payment to confirm the exact amount needed to pay off your mortgage.

  8. The payoff figure does not include estimates of non-attorney fees and costs that Chase may incur before or after the expiration of the quote.
  These may include but are not limited to amounts Chase may spend to avoid placement of homeowner-association and other liens, to pay delinquent
  homeowner-association fees, and to pay to inspect, value or preserve the condition of the property if applicable. The actual fees and costs incurred
  by Chase for these items may be assessed to your account at a later date. Please note if there are outstanding fees due on the loan that were not
  included in the quote, Chase will accept funds paid in response to this quote if funds received by the good through date.


  9. All previous checks we may have received for your monthly payments must have cleared for the payoff amount listed in this letter to be valid.
  Please don’t stop payment on any checks you’ve already mailed to us or cancel automatic mortgage payments before your loan is paid in full. If
  your loan hasn’t been referred to foreclosure, late charges may continue to be assessed if payments aren’t made before the late charge assessment
  date. You can call us at 1-800-548-7912 to determine if there are any late charges.

  10. If we receive a payment that isn’t enough to pay off the loan, we will return the funds.
  11. We only require that you pay the fees and costs actually incurred as of the date of your payment. If the payoff amount above includes any
  anticipated fees and/or costs and is more than the actual amount due on the date we receive your payment, we’ll return any overpayment to you.


  12. If your loan has an escrow account, we’ll continue to pay your insurance and/or tax payments until we receive the payoff amount. If we make
  escrow payments on the loan before the good through date listed above, you or your closing agent (if applicable) are responsible to pay any
  remaining amount needed to pay off the loan in full. If we receive a payment that’s less than the amount needed to pay off the loan, we have the
  right to collect the shortage, or return the payment if the shortage amount isn’t paid. We’ll refund any remaining escrow balance or overpayment to
  the account. We won’t transfer funds from your escrow account to any other account, unless you’re refinancing with us.

  13. Restricted escrow funds: Restricted escrow funds are made up of insurance claim proceeds that we received for your property. If we are
  holding any restricted escrow funds related to your loan, these funds may be used to pay off your account in full. If you intend to pay off your
  account in full with these funds, please sign and return the enclosed Letter of Authorization form. The completed form must be returned to our
  office before we can use the funds to pay off your account. If you use these funds to pay off your loan, you will not be able to use them to repair
  your property, and you will be responsible for paying any outstanding contractor invoices. The funds cannot be used to pay down or reduce the
  amount owed if you do not intend to pay off your account.
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  14. If we receive funds and apply them to pay off your account, but are then asked to return them because of a payoff rescission or for any other
  reason, unless prohibited by law, we’ll charge a fee of $800 to restore your account on our system. We must receive this fee and applicable monthly
  payments due before we’ll return the payoff funds. We also reserve the right to not return the payoff funds.

  15. If we receive a payment on or before the good through date, we’ll take action to discontinue the pending foreclosure activity and the
  foreclosure action initiated on this property will cease. We encourage you to call us at 1-800-548-7912 before you send your payment to make sure
  you’re sending the exact amount needed to pay off your loan. After payoff, you may need to sign documents or take other actions to assist with the
  withdrawal of any foreclosure proceedings. If a foreclosure sale is scheduled for your property, this letter doesn’t extend or change the sale
  date.

  16. FHA Partial Claim
  If you have a subordinate interest-free mortgage that was established as part of an FHA partial claim agreement, you’ll receive an additional quote
  several days later from Information System & Networks Corporation (ISN) containing all of the information you need to pay off and release your
  existing second lien on the property. The FHA partial claim subordinate lien loan must be paid off in addition to the first lien. Both quotes contain
  the most up-to-date information about your loan and the payoff amounts needed to pay it in full. Send the full payoff amount listed on the Chase
  quote to us, and send the full payoff amount for your subordinate quote to ISN. If you have questions about the partial claim payoff quote, please
  call to ISN at 1-800-225-5342 or at 1-800-877-8339 for TTY service for the hearing impaired.

  17. We'll send the lien release to your county recorder's office after we apply the payoff amount to your account. You're not required to call and
  request a lien release; however, you can request a copy from your county recorder’s office 60 to 90 days after payoff. For more information, please
  call us at 1-866-756-8747 or write to us at:

            Chase
            Attn: Research Correspondence
            780 Kansas Lane, Suite A
            Monroe, LA 71203

                                                              Important Legal Information
  If your account is not in bankruptcy, this communication is an attempt to collect a debt and any information obtained will be used for that purpose.



  However, if you are currently in active bankruptcy status or to the extent your original obligation was discharged or is subject to an automatic stay
  of bankruptcy under Title 11 of the United States Code, this notice is for compliance with non-bankruptcy law and/or informational purposes only
  and does not constitute an attempt to collect a debt or to impose personal liability for such obligation. Nothing in this letter (including our use of the
  words “your,” “loan,” “mortgage,” or “account”) means that you’re required to repay a debt that’s been discharged. Any payment you make on the
  account is voluntary, but we may still have rights under the security instrument, including the right to foreclose on the property.


  If you are represented by an attorney, please refer this letter to your attorney and provide us with the attorney’s name, address, and telephone
  number.



  If you live in California and are not in bankruptcy: The California Rosenthal Fair Debt Collection Practices Act and the federal Fair Debt
  Collection Practices Act require that, except under unusual circumstances, collectors may not contact you before 8 a.m. or after 9 p.m. They may
  not harass you by using threats of violence or arrest or by using obscene language. Collectors may not use false or misleading statements or call you
  at work if they know or have reason to know that you may not receive personal calls at work. For the most part, collectors may not tell another
  person, other than your attorney or spouse, about your debt. Collectors may contact another person to confirm your location or enforce a judgment.
  For more information about debt collection activities, you may contact the Federal Trade Commission at 1-877-FTC-HELP (1-877-382-4357) or
  ftc.gov.



  CR26148
  DQ600
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                                      Mortgage Mailing Address Change Form


If your mailing address has changed, please fill out this form and send it to:

                             Mail: Chase (Mail Code OH4-7302)
                                   P.O. Box 24696
                                   Columbus, OH 43224

                              Fax: 1-614-422-7575

Chase Mortgage Account Number: 4900182700

Mortgagor Name(s): LESLIE KLEIN, , and KLEIN,ERIKA


New Contact Information:

Mailing Street Address:


City:                                             State:         ZIP:



Customer Requesting Change (Print Name):

Customer's Signature:                                                   Date:


Please call us at 1-800-848-9136 for any other changes.
